Case 2:06-cr-20663-AC-DAS ECF No. 141, PageID.408 Filed 08/06/07 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,                        CRIMINAL NO. 06-20663

v.                                             HONORABLE AVERN COHN

D-16, RASHAWN SIMMONS,

             Defendant.
                                        /


                ORDER GRANTING MOTION TO RE-INSTATE BOND

      On August 06, 2007 the Court held a motion hearing to re-instate the bond and

conditions that were revoked on July 23, 2007. For the reasons stated on the record,

      IT IS HEREBY ORDERED that the bond is RE-INSTATED. The Defendant’s bond

and conditions entered on April 02, 2007 are re-instated.

      IT IS FURTHER ORDERED that the defendant be released from the custody of the

United States Marshal forthwith.

      SO ORDERED.



Dated: August 6, 2007                        s/Avern Cohn
                                            AVERN COHN
                                            UNITED STATES DISTRICT JUDGE


I hereby certify that a copy of the foregoing document was mailed to the parties of
record on this date, August 6, 2007, by electronic and/or ordinary mail.


                                             s/Julie Owens
                                            Case Manager, (313) 234-5160
